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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9     Anant Kumar Tripati,                            NO. CV-16-00282-TUC-DCB (PSOT)
10                   Plaintiff,
                                                         JUDGMENT IN A CIVIL CASE
11     v.
12     Corizon Incorporated, et al.,
13                   Defendants.
14
15            Decision by Court. This action came for consideration before the Court. The
16     issues have been considered and a decision has been rendered.
17            IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s order filed
18     January 23, 2018, the Fourth Amended Complaint and this action are dismissed for
19     failure to state a claim. This dismissal may count as a “strike” under 28 U.S.C. §
20     1915(g).
21                                             Brian D. Karth
                                               District Court Executive/Clerk of Court
22
23     January 23, 2018
                                               s/ M Rodriguez
24                                       By    Deputy Clerk
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